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                                     UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF VIRGINIA



 SONY MUSIC ENTERTAINMENT,et al..

          Plaintiffs,

 V.

                                                             Case No. 1:18-cv-00950-LO-JFA
 COX COMMUNICATIONS,INC., el al..

          Defendants.




                                    ORDER MODIFYING THE PRETRIAL SCHEDULE


            Pursuant to Rule 16 of the Federal Rules of Civil Procedure, and Rule 16 of the Local

      Civil Rules, and for good cause shown, the Court modifies and extends the pretrial dates

      previously set(ECF Nos. 52,53. 60. 138) as follows:

                                        A.      Pretrial Filings


       EVENT                                                                       Date


       File Rule 26(a)(3)(A)(i) witness disclosures                            July 16, 2019

       File objections to the other side's Rule 26(a)(3)(A)(i)                 July 23,2019
       witness disclosures

       File Rule 26(a)(3)(A)(iii) exhibit list disclosures                    August 13. 2019

       Serve (but do not file) proposed written stipulations of               August 15, 2019
       uncontested facts

       File written stipulations of uncontested facts                         August 22, 2019

       File objections to the other side's Rule 26(a)(3)(A)(iii)              August 29, 2019
       exhibit list disclosures

       File deposition designations under Rules                             September 18, 2019
       26(a)(3)(A)(ii), 32(a)(3)&(4). and Local Civil
       Rule 30(F)
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